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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                             Magistrate Judge Kathleen M. Tafoya

  Civil Action No.    07-cv-02235-MSK-KMT                    FTR

  Date: May 05, 2008                                         Debra Brown, Deputy Clerk

  Donald N. Taranto                                          Tracy A. Oldemeyer (Telephone)

                                 Plaintiff,

  v.

  USA, et al.                                                Aaron Michael Bailey (by Telephone)
                                                             Algirdas Mykolas Liepas (Telephone)
                                                             Kevin A. Planegger

                                 Defendants.


                             COURTROOM MINUTES / MINUTE ORDER

  TELEPHONIC STATUS CONFERENCE

  Court in Session: 9:01 a.m.

  Court calls case. Appearances of counsel.

  Discussion regarding [43] Joint MOTION to vacate scheduling order or alternatively convert
  settlement conference to scheduling conference filed April 07, 2008.

  ORDERED:       [43] Joint MOTION to vacate scheduling order or alternatively convert settlement
                 conference to scheduling conference filed April 07, 2008 is GRANTED in part as
                 specified on the record.

  ORDERED:       The Scheduling Order is amended to reflect:

                 Fact Discovery: September 16, 2008
                 Dispositive Motions: October 27, 2008
                 Expert Disclosures: September 16, 2008
                 Expert Rebuttal: October 20, 2008

  SETTLEMENT CONFERENCE set for July 28, 2008 at 10:30 a.m.
  ECF participants shall e-mail their Confidential Settlement Statements to chambers with a subject line
  “Confidential Settlement Statement” to: Tafoya_Chambers@cod.uscourts.gov, no later than five (5)
  business days prior to the settlement conference date. The Confidential Settlement Statement should
  be in PDF format and sent as an attachment to the e-mail. Statements containing more than 15
  pages should also be submitted to chambers on paper (hard copy), with the envelope addressed
  to “Magistrate Judge Tafoya’s Chambers, Personal and Confidential”. Confidential Settlement
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  Statements prepared by parties not represented by counsel, or without access to ECF, shall be
  submitted on paper to the Clerk’s Office.
         All attorneys, parties and/or representatives with full settlement authority shall be present at
         the settlement conference in courtroom A-601. Valid photo identification is required to enter
         the courthouse. (See attachment for more information.)

  ORDERED:        Parties are directed to www.cod.uscourts.gov and shall fully comply with the
                  procedures of the judicial officer assigned to try this case on the merits.

  Absent exceptional circumstances, no request for rescheduling any appearance in this court will be
  entertained unless a written request is made FIVE (5) business days in advance of the date of
  appearance.

  Court in Recess 9:27 a.m.
  Total In-Court Time 0:26, hearing concluded

  *To obtain a transcript of this proceeding, please contact Avery W oods Reporting at (303) 825-6119.




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          Counsel and pro se litigants shall have parties present who shall have full authority to
  negotiate all terms and demands presented by the case, and full authority to enter into a settlement
  agreement, including an adjustor if an insurance company is involved. "Full authority" means that the
  person who attends the settlement conference has the complete and unfettered capacity and authority
  to meet or pay all terms or amounts which are demanded or sought by the other side of the case
  without consulting with some other person, committee or agency. If any person has limits upon the
  extent or amount within which he or she is authorized to settle on behalf of a party, that person does
  not have "full authority." No party shall be permitted to attend the settlement conference by
  phone unless that party has obtained leave of Court following the filing of an appropriate
  motion, no later than five (5) business days prior to the settlement conference date.

          In order that productive settlement discussions can be held, the parties shall prepare and
  submit two settlement documents: one to be mailed to the other party or parties, and the other to be
  mailed only to the Magistrate Judge. The documents which are presented to opposing parties shall
  contain an overview of the case from the presenter's point of view, shall summarize the evidence
  which supports that side's claims, and shall present a demand or offer. These documents should be
  intended to persuade the clients and counsel or pro se litigant on the other side.

          The document to be mailed to the Magistrate Judge shall contain copies of the above
  materials, but additionally shall contain any confidential comments which counsel or the pro se litigant
  wishes to make, any comments with regard to perceived weaknesses in the case and any comments
  which would be helpful to the magistrate in assisting the parties to negotiate a settlement.

          ECF participants shall e-mail their Confidential Settlement Statements to chambers with a
  subject line “Confidential Settlement Statement” to: Tafoya_Chambers@cod.uscourts.gov, no later
  than five (5) business days prior to the settlement conference date. The Confidential Settlement
  Statement should be in PDF format and sent as an attachment to the e-mail. Statements containing
  more than 15 pages should also be submitted to chambers on paper (hard copy), with the
  envelope addressed to “Magistrate Judge Tafoya’s Chambers, Personal and Confidential”.
  Confidential Settlement Statements prepared by parties not represented by counsel, or without access
  to ECF, shall be submitted on paper to the Clerk’s Office.




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